MEMO. ENDORSED

 

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September 29, 2020

Hon. Nelson S. Roman

United States District Judge
Southern District of New York
300 Quarropas Street

White Plains, NY 10601

Via ECF

Re: U.S.A. v. Nicholas Harris
17 Cr. 506 (NSR) -03

Dear Judge Roman:

Please accept this letter as an application, with the consent of Assistant District Attorney Of be
Maureen Comey, continuing the sentence in this matter, currently scheduled for DecemberZ8, 2020, vr

to any date in early February 2021, with the exception of February 5, 2020.

 

Mr. Harris advises that he is hoping to finish his GED program, and he will only be able to
do so if the sentence is pushed into next year. If this is agreeable, may I impose upon Your Honor
to “so order” this letter. Thank you for your consideration. I remain

Respectfully,
S/GRGoltzer
George R. Goltzer

cc: All parties via ECF .
Upon consent of the Gov't, Deft's request to adjourn

GRG/ms . the Sentencing from Oct. 28, 2020 until Feb. 12, 2021
: at 12 noon or, alternatively, Feb. 19, 2021 at 12 noon
is granted. Clerk of Court requested to terminate the
motion (doc. 333).
Dated: Oct. 21, 2020

 

HON. NELSONS. ROMAN _
UNITED STATES DISTRICT JUDGE.

 
